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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTH DISTRICT OF ILLINOIS
                             EASTERN DIVISION


THE BOARD OF TRUSTEES OF THE
UNIVERSITY OF ILLINOIS,
                                          Case No. 21-cv-06546
      Plaintiff,
v.
                                          Hon. John R. Blakey
VINTAGE BRAND, LLC,
                                          JURY TRIAL DEMANDED
             Defendant.




         PLAINTIFF’S SECOND MOTION TO STRIKE CERTAIN
     AFFIRMATIVE DEFENSES PURSUANT TO FED. R. CIV. P. 12(f)
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I.     INTRODUCTION

       The University brought this action to stop Vintage Brand’s rampant counterfeiting and

trademark infringement. The Second Amended Complaint (i) identifies six federally-registered

trademarks and four common law marks owned by the University; (ii) demonstrates use of these

marks by the University and its licensees; and then (iii) demonstrates Vintage Brand’s use of

identical or substantially indistinguishable designs in Vintage Brand’s online store. (See generally

Second Am. Compl., Dkt. 38.)

       For example, the Second Amended Complaint demonstrates that a consumer can click a

link for “Illinois Fighting Illini” on the Vintage Brand website and thereby access a webpage

offering unauthorized apparel and merchandise using University trademarks.




(Second Am. Compl. ¶ 34.) The Second Amended Complaint provides images of a number of

representative examples of infringing goods sold through the Vintage Brand websites. (Id. at ¶ 39.)


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         For its part, Vintage Brand does not dispute the majority of the factual allegations in the

Second Amended Complaint. Indeed, Vintage Brand admits that the identified images were

displayed on Vintage Brand’s website and they “contain within them text or design elements to

which the University claims trademark rights.” (Def.’s Am. Answer and Aff. Defs. ¶¶ 34, 39, Dkt.

52.)

         Having admitted the key facts, Vintage Brand attempts to clutter up this case through

affirmative defenses and counterclaims.        Vintage Brand initially raised twenty scattershot

affirmative defenses. (See generally Def.’s Answer and Aff. Defs., Dkt. 46.) Following the

University’s initial motion to strike, Vintage Brand amended its affirmative defenses, providing

some additional detail regarding its defenses and reducing the number of them to eleven. (See

generally Def.’s Am. Answer and Aff. Defs., Dkt. 52.)

         Despite Vintage Brand’s amendments, certain of its affirmative defenses remain deficient

as a matter of law and should be stricken. First, several of Vintage Brand’s affirmative defenses

appear to raise legal issues that are not cognizable within the Seventh Circuit and, even if assumed

to be legally valid, are not applicable on the facts. If not stricken, Vintage Brand’s defensive

aesthetic functionality, public domain, and First Amendment defenses will significantly broaden

the scope of discovery and interject needless complexity and expense into this otherwise

straightforward infringement and counterfeiting case. Second, a number of Vintage Brand’s

affirmative defenses are typical, oft-used legal defenses – estoppel by acquiescence, estoppel by

laches, and failure to mitigate damages – which lack any factual basis in this case. Vintage Brand

has failed to plausibly plead these defenses on its second attempt. They should be stricken with

prejudice.




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II.     LEGAL FRAMEWORK

        An affirmative defense is a “defendant's assertion of facts and arguments that, if true, will

defeat the plaintiff's…claim, even if all the allegations in the complaint are true.” Bell v. Taylor,

827 F.3d 699, 705 (7th Cir. 2016) (quoting BLACK'S LAW DICTIONARY (10th ed. 2014)). In

other words, an affirmative defense “limits or excuses a defendant's liability even if the plaintiff

establishes a prima facie case.” Tober v. Graco Children's Prods., Inc., 431 F.3d 572, 579 n. 9 (7th

Cir. 2005). In contrast, a defense which is merely “an attack on [p]laintiff’s prima facie claim” is

a negative defense, not an affirmative defense. Pietrzycki v. Heights Tower Serv., Inc., No. 14-C-

6546, 2015 WL 688510, at *2 (N.D. Ill. Feb. 17, 2015) (internal citation omitted).

        Federal Rule of Civil Procedure 12(f) instructs that the Court should “strike from a pleading

an insufficient defense or any redundant, impertinent, or scandalous matter.” Motions to strike are

generally disfavored, so affirmative defenses “will be stricken only when they are insufficient on

the face of the pleadings.” Heller Fin., Inc. v. Midwhey Powder Co., Inc., 883 F.2d 1286, 1294

(7th Cir. 1989). But a motion that seeks to remove “unnecessary clutter” may granted. See

Uncommon LLC v. Spigen Inc., 15-C-10897, 2016 WL 3997597, *2 (N.D. Ill. July 26, 2016)

(Blakey, J.) (citing Heller, 883 F.2d at 1294).

        To survive a motion to strike, an affirmative defense must satisfy a three-part test: (1) the

matter must be properly pleaded as an affirmative defense; (2) the matter must be adequately

pleaded under the requirements of Federal Rules of Civil Procedure 8 and 9; and (3) the matter

must withstand a Rule 12(b)(6) challenge. Sarkis’ Café, Inc. v. Sarks in the Park, LLC, 55 F. Supp.

3d 1034, 1039 (N.D. Ill. 2014). With respect to the second factor, the majority of district courts in

the Seventh Circuit, including this Court, apply the Twombly-Iqbal “plausibility” pleading

standard to affirmative defenses. See Janssen v. BRI Holding, LLC, 16-cv-10098, 2017 WL




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2080424, at *4 (N.D. Ill. May 15, 2017) (Blakey, J.). But “[a]t the very least, affirmative defenses

must pass the pre-Twombly standard, where ‘bare bones conclusory allegations,’ bereft of factual

context, are not sufficient to pass a motion to dismiss.” Uncommon LLC, 2016 WL 3997597, at *2

(quoting Heller, 883 F.2d at 1295). This is true in part because affirmative defenses “serve as a

platform for discovery, which could be very costly.” See Janssen, 2017 WL 2080424, at *4. It is

important “that plaintiffs are given fair notice of the basis for each defense to allow them to litigate

the defenses as they would any other issue.” Id.

III.     ARGUMENT

          A.     Certain of Vintage Brand’s Defenses Should be Stricken Because they Lack
                 Legal and Factual Support

                1.      Vintage Brand’s Aesthetic Functionality Defense Should Be Stricken
                        (Third Affirmative Defense)

         Vintage Brand’s Third Affirmative Defense should be stricken because (i) the defense of

defensive aesthetic functionality is not cognizable in the Seventh Circuit, and, in any event, (ii)

Vintage Brand has failed to plausibly plead that its inability to use the University’s trademarks

would put Vintage Brand at a “significant non-reputation-related disadvantage.”

                        a.      Vintage Brand’s Defensive Application of Aesthetic
                                Functionality is Not Cognizable in the Seventh Circuit

         The Seventh Circuit considers the issue of aesthetic functionality in the context of validity,

specifically, in certain cases involving asserted trade dress in the appearance of product packaging

or product configuration. In such cases, courts may inquire as to “whether exclusive use of the

feature would place competitors at a “‘significant non-reputation-related disadvantage.’” Flexible

Steel Lacing Co. v. Conveyor Accessories, Inc., 955 F.3d 632, 644 (7th Cir. 2020). If so, the

asserted feature is considered functional and is thus ineligible for trademark protection. Id.

         Vintage Brand is not asserting aesthetic functionality to challenge the validity of the



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University’s marks. Quite the opposite. The defense is that Vintage Brand’s use of the University

marks in connection with Vintage Brand’s products is functional and therefore not infringing,

assuming that the marks are valid and that the otherwise-infringing use is likely to cause confusion.

This defensive application of the aesthetic functionality has been recognized in the Ninth Circuit.

See Adidas Am., Inc. v. TRB Acquisitions LLC, 3:15-cv-21, 2018 WL 10335661, at *4–5 (D. Ore.

Dec. 13, 2018) (setting forth defensive aesthetic functionality test).

       But commentators and courts have roundly criticized defensive applications of aesthetic

functionality as ill-advised and, indeed, superfluous to the likelihood of infringement analysis. As

the leading trademark commentator explained:

       The theory of defensive aesthetic functionality is the wrong approach to
       solve problems that arise when a trademark is used by defendant in an
       arguably “decorative” sense, such as on T-shirts, tote bags and baseball
       caps. In such cases the question is the familiar but difficult one of whether
       there is a likelihood of confusion as to source, sponsorship, affiliation or
       connection. No notions of “defensive aesthetic functionality” are proper to
       serve as a convenient escape from directly facing the question of likelihood
       of confusion.

J. Thomas McCarthy, 6 McCarthy on Trademarks and Unfair Competition, § 7:82 (5th Ed. 2022).

       Nor has the defensive use of aesthetic functionality found purchase outside of the Ninth

Circuit. See e.g., Ohio State Univ. v. Skreened Ltd., 16 F. Supp. 3d 905, 919–20 (S.D. Ohio 2014)

(stating that aesthetic functionality “is potentially relevant only in the context of trade dress

infringement, which is simply not the context here.”); Bd. of Supervisors for La. State Univ. Agric.

and Mech. Coll. v. Smack Apparel Co., 550 F.3d 465, 487-888 (5th Cir. 2008) (restating “long-

settled view rejecting recognition of aesthetic functionality”); Brunswick Corp. v. Spinit Reel Co.,

832 F.2d 513, 518 (10th Cir. 1987) (rejecting Ninth Circuit’s application of defensive aesthetic

functionality). The University is unaware of any cases in the Seventh Circuit which apply aesthetic

functionality defensively, and at least one district court has stated its belief that “the Seventh



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Circuit would not likely accept” this notion. See Alpha Tau Omega Fraternity, Inc. v. Pure

Country, Inc., No. IP 01-1054-C, 2004 WL 3391781, at * 6 (S.D. Ind. Oct. 26, 2004).

                       b.     Vintage Brand Has Not Plausibly Pled Defensive Aesthetic
                              Functionality

       Even if defensive aesthetic functionality is cognizable in this Circuit, Vintage Brand has

failed to plead a plausible basis from which a fact-finder could conclude that its inability to use

the University’s marks would put Vintage Brand at a “significant non-reputation-related

disadvantage” that is legally protected—a fundamental element of a defensive aesthetic

functionality claim. See Adidas Am., 2018 WL 10335661, at *4–5. Indeed, on virtually identical

facts, the Fifth Circuit held that, even assuming defensive aesthetic functionality to be a valid

defense, selling game day apparel seeks to “take advantage of the University’s reputation” and is

not a legitimate advantage to which an alleged infringer is entitled:

       The Court in Qualitex stressed that the focus of functionality is “legitimate (non-
       trademark-related) competition.” But here any demand for Smack’s t-shirts is
       inextricably tied to the Universities’ trademarks themselves… Smack’s alleged
       competitive disadvantage in the ability to sell game day apparel relates solely to
       an inability to take advantage of the Universities’ reputation and the public’s
       desired association with the Universities that its shirts create. This is not an
       advantage to which it is entitled under the rubric of legitimate competition.

Smack Apparel Co., 550 F.3d at 488 (emphasis added). As in Smack Apparel—Vintage Brand is

plainly using the University’s marks in a way that profits off of the University’s reputation, which

is not permitted as a matter of law, even under a defensive aesthetic functionality framework. Id.

And Vintage Brand has not alleged any other sort of non-reputation-related disadvantage here.

(See Def.’s Am. Answer and Affirm. Defs. p. 42, Dkt. 52.)

               2.      Vintage Brand’s Public Domain Defense Should Be Stricken (Ninth
                       Affirmative Defense)

        Vintage Brand’s Ninth Affirmative Defense should be stricken because it fails to give fair

notice to the University of the legal and factual bases for the defense. The defense states, in its


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entirety:

       The University’s claims are premised on Defendant’s alleged reprinting of
       historic, public domain artwork appearing on tangible vintage memorabilia
       owned by Defendant. Some of this public domain artwork contains
       embedded within it text and designs to which the University claims current
       trademark rights. The University’s claims are barred and/or limited to the
       extent they would interfere with Defendant’s federal right to reproduce,
       make minor enhancements to, and print and distribute public domain
       artwork as ornamentation or decoration on merchandise.

(Def.’s Am. Answer and Affirm. Defs. p. 43, Dkt. 52.) The Ninth Affirmative Defense suggests

a bright line rule, giving Vintage Brand per se immunity from trademark infringement if the

complained-of use reproduces public domain images. But this is not a recognized defense to the

University’s trademark infringement claims, neither in the Seventh Circuit nor elsewhere.

       Although far from clear, the Ninth Affirmative Defense appears to be an expansive

misreading of the Supreme Court’s decision in Dastar Corp. v. Twentieth Century Fox Film

Corp., 539 U.S. 23 (2003). Dastar is far from analogous to the present case. Where Vintage Brand

is alleged to, and admits to, having sold apparel (e.g., t-shirts and hats) and merchandise (e.g.,

water bottles and mugs) emblazoned with University trademarks, Dastar involved a Lanham Act

claim based on defendant’s reselling of an original, out-of-copyright, television series without

attribution to the authors of the creative video content. Id. at 25–27. In Dastar, plaintiff Fox held

a copyright in an original television series. Id. at 25–26. Fox did not renew its copyright in the

series. Id. Dastar purchased the tapes of the original television series, copied them, made minor

changes, and created new packaging for the videos. Id. at 26–27. Dastar then manufactured and

sold the videos as its own product, without reference to the original television series or its authors.

Id. at 27. Among other claims, Fox alleged Dastar violated section 43(a) of the Lanham Act based

on Dastar’s sale of videos “without proper credit” to the original television series. Id. Upon

review, the Supreme Court held that because the term “origin” in Section 43(a) of the Lanham



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Act refers to the source of tangible goods, not the author of creative content embodied therein,

the Lanham Act could not be used to bring a claim concerning misattribution of authorship. Id. at

37.

       Dastar did not create or recognize a “federal right to reproduce, make minor

enhancements to, and print and distribute public domain artwork as ornamentation or decoration

on merchandise.” (See Def.’s Am. Answer and Affirm. Defs. p. 43, Dkt. 52.) Rather, to the extent

Dastar’s holding relates to out-of-copyright works, it made clear that intellectual property owners

could not use “the Lanham Act as a back-door perpetual copyright for works in the public

domain.” Personal Keepsakes, Inc. v. Personalizationmall.com, Inc., No. 11 C 5177, 2012 WL

414803, at *4 (N.D. Ill. Feb. 8, 2012) (holding plaintiff could not state a claim for trademark

infringement under the Lanham Act for incorporating poems, without authorship attribution, into

its new products) (emphasis added).

       Fox’s claim failed not because the works were in the public domain but because, although

it asserted a claim under the Lanham Act, it was actually making a “disguised copyright claim[].”

Warner Bros. Entm’t, Inc. v. X One X Prods., 840 F.3d 971, 980 (8th Cir. 2016) (describing

trademark infringement claims barred under Dastar as “disguised copyright claims”); see also

WickFire, L.L.C. v. Laura Woodruff; TriMax Media, L.L.C., 989 F.3d 343, 351 (5th Cir. 2021)

(characterizing the Fox’s claim in Dastar as being akin to plagiarism, which is not cognizable

under the Lanham Act).

       As the Second Amended Complaint makes clear, unlike the plaintiffs in Dastar and

Personal Keepsakes, the University’s lawsuit does not seek to remedy a failure to attribute

authorship of the creative embodiments in Vintage Brand’s merchandise and is not a backdoor

copyright claim. Instead, this is a straightforward trademark infringement and counterfeiting case




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concerned with “protecting the genuineness of its brand.” See WickFire, L.L.C., 989 F.3d at 351.

       That Dastar is inapplicable to the present case is clearly explained by the Eighth Circuit’s

opinion in Warner Bros. In that case, plaintiff Warner Bros. asserted registered and common law

trademarks in, among other things, images of characters from certain films and used those

character images for trademark purposes on a host of consumer goods for many years. 840 F.3d

at 980. Defendants obtained restored versions of movie posters and lobby cards for the films,

extracted images of the famous characters, and licensed these images for use on various consumer

products, including apparel. Id. at 975. The Court held Warner Bros.’s trademark infringement

claims did not run afoul of Dastar because the character images were not “communications,

concepts, or ideas that the consumer goods embody.” Id. at 980. Rather, the infringing products

“employ[ed] iconic film characters’ pictures to associate the products with Warner’s films, not

to copy the film itself.” Id. (emphasis added).

       Vintage Brand’s Answer concedes use of “text or design elements to which the University

claims trademark rights.” (Def.’s Am. Answer and Aff. Defs. ¶¶ 34–36, 39, 47–51.) Even

assuming, for example, the ’024 mark or ’353 mark (or substantially indistinguishable design)

reproduced on Vintage Brand’s goods (see id. at ¶¶ 49 and 51) were in fact lifted from public-

domain works, this is the same excuse raised and rejected in Warner Bros. and does not give rise

to an affirmative defense to the University’s trademark infringement and counterfeiting claims.

              3.      Vintage Brand’s First Amendment Affirmative Defense Should Be
                      Stricken (Tenth Affirmative Defense)

       Vintage Brand raises a First Amendment defense which appears to be based on the Second

Circuit’s two-part test for infringement based on the unauthorized use of a trademark in an

expressive or artistic work. See Rogers v. Grimaldi, 875 F.2d 994 (2d Cir. 1989).

       Although other circuits have adopted the Rogers test, the Seventh Circuit has yet to do so.



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    See. e.g., Sullivan v. Bickler, 360 F. Supp. 3d 778, 786 (N.D. Ill. 2019). 1 But even assuming

    Rogers is good law in the Seventh Circuit, it simply does not apply to the facts of this case. As a

    court in this District explained, under the Rogers test, “with respect to titles of artistic works, the

    title must be explicitly misleading and devoid of any artistic relevance to the work in order for

    the Lanham Act to bar its use.” Eastland Music Group, LLC v. Lionsgate Entm’t, Inc., No. 11 C

    8224, 2012 WL 2953188, * 3 (N.D. Ill. July 19, 2012), aff’d, 707 F.3d 869 (7th Cir. 2013)

    (internal quotation marks and citation omitted) (emphasis in original). 2

           Rogers analyzed whether the use of the film title “Ginger & Fred” infringed the trademark

    or publicity rights of Ginger Rogers, who was well known in part for her roles in films in which

    she co-starred with Fred Astaire. 875 F.2d at 996. The film was about the reunion of two retired

    fictional Italian cabaret performers, who, at the high point of their careers, imitated Rogers and

    Astaire. Applying the aforementioned test, the court found that the title “surpass[ed] the minimum

    threshold of artistic relevance to the film’s content” and that there was no evidence that the title

    would mislead consumers as to Ginger Rogers’ sponsorship or endorsement of the film where

    “the title is entirely truthful as to its content in referring to the film’s fictional protagonists who

    are known to their Italian audience as ‘Ginger and Fred’” and where the title had “an ironic

    meaning that is relevant to the film’s content.” Id. at 1001. 3



1
        In one case, the Seventh Circuit suggested reasons not to adopt the test, noting “Rogers
treated that doctrine as an application of the first amendment rather than the Lanham Act, and
courts should avoid unnecessary constitutional adjudication.” Eastland Music Group, LLC v.
Lionsgate Entm’t, Inc., 707 F.3d 869 (7th Cir. 2013).
2
        Other than omitting the “with respect to titles of artistic works” language, Vintage Brand’s
Tenth Affirmative Defense parrots the Rogers test. (See Def.’s Am. Answer and Affirm. Defs. p.
43, Dkt. 52 (“artistically relevant to the vintage-themed art” and “not explicitly misleading”).)
3
        Similarly, the Eastland Music case in this District involved the use of the title “50/50” for
a film, which was artistically relevant (because a main character stated early in the film that he had
a 50/50 chance of surviving cancer) and not misleading based upon a review of the movie and
packaging.


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        Even assuming Rogers were to be adopted in the Seventh Circuit, Vintage Brand fails to

plausibly plead facts which would implicate Rogers. Indeed, the facts that Vintage Brand recites

seemingly have no connection to a Rogers analysis:

       Defendant’s website allows consumers to customize and create vintage-
       themed works by applying historic works of art – some of which embed text
       and designs to which the University claims current trademark rights – to
       various products, including but not limited to canvases, magnets, and
       posters. Defendant allows consumers to customize products with such
       images in a creative effort to preserve and make available meaningful
       historic imagery.

(See Def.’s Am. Answer and Affirm. Defs. p. 43, Dkt. 52.)

       Assuming these facts to be true, Vintage Brand’s Rogers defense is implausible. The

allegation that Defendant’s use of the University’s marks is “artistically relevant” is purely

conclusory and, in fact, inconsistent with Vintage Brand’s admissions. Vintage Brand is not

making “vintage-themed art”; it is slavishly copying University marks onto t-shirts, hats, magnets,

etc. Vintage Brand contributes nothing but a blank canvas or other blank medium on which to

display the University’s marks.

       Further, Vintage Brand’s conclusory assertion that the use is “not explicitly misleading” is

implausible. Regardless of how the t-shirts, memorabilia, and other merchandise are created,

Vintage Brand sells them on a website with the header “Illinois Fighting Illini Vintage Designs,”

explicitly suggesting a association between the products and the University. (Def.’s Am. Answer

and Aff. Defs. ¶¶ 34–35) (admitting how products are displayed on Vintage Brand website).

Vintage Brand provides no facts which would allow a fact-finder to conclude that Vintage Brand’s

use was protected under the Rogers test.




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        B.      Certain of Vintage Brand’s Run-of-the-Mill Defenses Lack Factual Support
                and Fail Under Iqbal/Twombly

               1.      Vintage Brand’s Laches Affirmative Defense Should Be Stricken
                       (First Affirmative Defense)

       Despite Vintage Brand’s attempt to save this defense through its amendment, it is still

nothing but a “‘bare bones conclusory allegation[],’ bereft of factual context [and is] not sufficient

to pass a motion to dismiss” even under pre-Twombly/Iqbal pleading standards. Uncommon LLC,

2016 WL 3997597, at *2. For “laches to apply in a trademark infringement case, the defendant

must show that the plaintiff had knowledge of the defendant's use of an allegedly infringing mark,

that the plaintiff inexcusably delayed in taking action with respect to the defendant's use, and that

the defendant would be prejudiced by allowing the plaintiff to assert its rights at this time.”

Chattanoga Mfg., Inc. v. Nike, Inc., 301 F.3d 789, 792–93 (7th Cir. 2002) (citing Hot Wax, Inc. v.

Turtle Wax, Inc., 191 F.3d 813, 820 (7th Cir. 1999)). Vintage has not pled sufficient facts to

plausibly establish the requisite elements of “inexcusable delay” or “prejudice.”

       First, the allegation that the University allegedly knew of Vintage Brand’s counterfeiting

“for an unreasonably long period of time” or a “number of years” is not sufficient to state a claim.

Instead, this is a bare bones conclusory allegation reciting the elements of laches that suspiciously

fails to reveal just how long this supposed “number of years” is. This is fatal to a laches defense,

for courts routinely reject laches defenses in trademark cases brought within “three years” of

plaintiff’s knowledge of the infringement. Chattanoga Mfg., 301 F.3d at 793. Indeed, even before

Twombly, courts in this district have rejected laches defenses at the 12(b)(6) stage when the suit

was brought within that three-year period. See, e.g., Nissan Motor Co. v. BMW (US) Holding

Corp., 2002 WL 31426654, at *2 (N.D. Ill. Oct. 28, 2002) (rejecting laches defense at 12(b)(6)

stage when plaintiff brought suit one year after learning of the infringement). By failing to set forth

the duration of Vintage Brand’s use (let alone the University’s knowledge of that use), Vintage


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Brand seeks evade the application of that case law, which would require this defense to be stricken.

       Second, Vintage Brand has not alleged facts showing how it has been “prejudiced.” See

Chattanoga Mfg., 301 F.3d at 793. “The cases are legion to the effect that mere delay, without

resulting injury to the defendant, is not sufficient to prevent relief for infringement.” J. Thomas

McCarthy, 6 McCarthy on Trademarks and Unfair Competition, § 31:12 (5th Ed. 2022). But far

from pleading prejudice – e.g., by pleading marketing expenditures, plant expansions, or other

investments related to the University’s marks –Vintage Brand simply states that it “has been

prejudiced as it has conducted such open and transparent business for a number of years prior to

the University’s belated decision to initiate litigation.” (Def.’s Answer and Affirm. Defs. p. 41,

Dkt. 52.) This is the utter absence of prejudice.

               2.      Vintage Brand’s Acquiescence Affirmative Defense Should Be
                       Stricken (Second Affirmative Defense)

       By amending its acquiescence defense in an attempt to provide further factual support,

Vintage Brand simply made clear that it has no acquiescence defense, and that what is calls

“acquiescence” is merely an alleged abandonment defense in false clothing.

       To plausibly state an acquiescence defense, a defendant must plead that “the owner of the

mark has, through his words or conduct, conveyed his consent to the defendant’s use of the mark.”

Hyson USA, Inc. v. Hyson 2U, Ltd., 821 F.3d 935, 940 (7th Cir. 2016). As a “personal” defense,

acquiescence therefore requires the alleged “words or conduct” to be specifically directed at the

defendant as opposed to the world at large. See id. (describing acquiescence as “where the

trademark owner, by affirmative word or deed, conveys its implied consent to another”); see also

Bobak Sausage Co. v. A & J Seven Bridges, Inc., 805 F. Supp. 2d 503, 513–14 (N.D. Ill. 2011)

(finding acquiescence given plaintiff’s statements to defendant prior to commencement of

litigation) (stating that “[a]ctive consent [for acquiescence purposes] is implied by conduct on the



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plaintiff’s part that amounts to an assurance to the defendant, express or implied, that the plaintiff

would not assert his trademark rights against the defendant”) (emphasis added).

        Vintage Brand’s amended pleading makes clear that there was no action or communication

from the University to Vintage Brand which could have conveyed the requisite implicit consent

to Vintage Brand’s use of the mark. Instead, Vintage Brand relies exclusively on statements to the

public at large:

        As set forth in the following Counterclaims, the University has actively represented
        to the public, including Defendant, that it abandoned the Chief Illiniwek design,
        which is the subject of Registration No. 2,232,024. As such, the University
        affirmatively informed all members of the public that it would take no steps to
        enforce any alleged “rights” in the Chief Illiniwek design. Defendant has
        reasonably relied on such public representations to its detriment; specifically,
        Defendant has been prejudiced as it has conducted the actions admitted in its
        Answer to the Complaint for a number of years while reasonably relying on the
        University’s representations. Thus, the University’s claims are barred and/or
        limited by the doctrine of acquiescence.

(Def.’s Answer and Affirm. Defs. pp. 41–42, Dkt. 52.)

        In sum, although Vintage Brand has labeled this defense as “acquiescence,” it is actually a

defense that the University abandoned its rights in Chief Logo—which Vintage Brand has

elsewhere asserted in its Sixth Affirmative Defense and Amended Counterclaim No. 1. (See id. at

pp. 42. 46–50.) 4




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        Further, Vintage Brand has failed to plead any facts that it relied upon any specific
statement of the University to its detriment. “The doctrine of acquiescence is based on notions of
reliance by the purported infringer.” Piper Aircraft Corp. v. Wag-Aero, Inc., 741 F.2d 925, 934
(7th Cir. 1984). Not only is the failure to plead reliance fatal from an Iqbal standpoint, it is highly
suggestive that the acquiescence theory is an ex post facto justification, given that (i) the relied-
upon University statements regarding the Chief Logo are from 2007, well over a decade prior to
Vintage Brand’s use; (ii) the University’s statements were addressed to the public at large, not
Vintage Brand specifically; (iii) Vintage Brand does not state that it was aware of any specific
statements prior to selling the infringing goods; and (iv) Vintage Brand’s sales of infringing
products was not limited to the Chief Logo but to a panoply of University marks which are outside
the scope of the acquiescence defense pleaded.


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                 3.     Vintage Brand’s Failure to Mitigate Damages Affirmative Defense
                        Should Be Stricken (Seventh Affirmative Defense)

          In asserting a mitigation defense, a defendant cannot rest on bare-bones pleadings, but

instead must plead sufficient facts to place the plaintiff on notice of the basis of the defense. See

Franklin Capital Corp. v. Baker & Taylor Entm’t, Inc., 2000 WL 1222043, at *5 (N.D. Ill. Aug.

22, 2000) (dismissing one-sentence failure to mitigate defense because it lacked factual support);

see also Cohn v. Taco Bell Corp., 1995 WL 493453, at *2 (N.D. Ill. Aug. 16, 1995) (concluding

that party pleading mitigation must “provide enough facts to put Plaintiffs on notice of the course

which Defendant contends Plaintiffs were legally required, but failed, to pursue.”).

          Vintage Brand does not state what the “unreasonably long period of time” is; it does not

explain how the University “knowingly allowed profits to accrue”; and it does not plead how the

University “fail[ed] to take any steps to reduce the amount of profit” Vintage Brand was accruing

or the course of action the University was legally required to take before filing suit. 5 This is all

fatal to Vintage Brand’s mitigation of damages defense. See Franklin Capital, 2000 WL 1222043,

at *5; Cohn, 1995 WL 493453, at *2.

    IV.     CONCLUSION

          Despite having a second bite at the apple, Vintage Brand has failed to plausibly plead

entitlement to its Affirmative Defense Nos. 1–3, 7, and 9–10. For the foregoing reasons, the

University requests that the Court strike these defenses with prejudice.




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        In this regard, Vintage Brand’s “failure to mitigate” defense is really nothing more than an
attempt to plead laches without showing prejudice resulting from the delay. The gist of both of
these defenses is that Vintage Brand has been able to profit from its infringing sales for an unstated
amount of time.


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Dated: June 17, 2022
                                             Respectfully submitted,

                                             THE BOARD OF TRUSTEES FOR THE
                                             UNIVERSITY OF ILLINOIS

                                             By: /s/ Jeffrey J. Catalano   .
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of June, 2022, that the above and foregoing was filed
electronically with the Clerk of the Court using the CM/ECF system, which sent notification to all
ECF registrants that are counsel of record for this matter.


                                                  By: /s/ Jeffrey J. Catalano




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